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          NOW, on application of E. Stewart Jones Hacker Murphy, LLP, John F.

   Harwick, Esq., 28 Second Street, Troy, New York 12180, of counsel Pro Hae Vice,

   attorneys for the plaintiff; it is

          ORDERED, ADJUDGED and DECREED that plaintiff, the Michael

   Maranda, an individual resident of the State of New York, duly recover of defendant

   Hash Deploy, Inc. the sum certain of$580,000.00 plus interest at the legal rate

   from and after May 11, 2019 plus plaintiffs Bill of Costs in the amount of $420

   and that the plaintiff have execution theretofore.

          The creditor is Michael Maranda, 38 Oaklawn Avenue, Farmville, New York

   11738.

          The debtor is Hash Deploy, Inc., 13075 NE 251st Terrace Salt Spring, Florida

   32134.

          JUDGMENT signed this __ day of ____., 2020.




                                           HON. ELIZABETH M. WARREN
                                           CLERK OF COURT


   ENTERED:
